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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

STEPHEN SULLIVAN, WHITE OAK FUND LP,
CALIFORNIA STATE TEACHERS’ RETIREMENT
SYSTEM, SONTERRA CAPITAL MASTER FUND,          Docket No. 13-cv-02811 (PKC)
LTD., FRONTPOINT PARTNERS TRADING
FUND, L.P., AND FRONTPOINT AUSTRALIAN
OPPORTUNITIES TRUST on behalf of themselves
and all others similarly situated,
                                 Plaintiffs,

                  - against -

BARCLAYS PLC, BARCLAYS BANK PLC, BARCLAYS
CAPITAL INC., BNP PARIBAS S.A., CITIGROUP,
INC., CITIBANK, N.A., COÖPERATIEVE
CENTRALE RAIFFEISEN-BOERENLEENBANK
B.A., CRÉDIT AGRICOLE S.A., CRÉDIT AGRICOLE
CIB, DEUTSCHE BANK AG, DB GROUP SERVICES
UK LIMITED, HSBC HOLDINGS PLC, HSBC BANK
PLC, ICAP PLC, ICAP EUROPE LIMITED, J.P.
MORGAN CHASE & CO., JPMORGAN CHASE
BANK, N.A., THE ROYAL BANK OF SCOTLAND
PLC, SOCIÉTÉ GÉNÉRALE SA, UBS AG AND JOHN
DOE NOS. 1-50,
                         Defendants.


          DECLARATION OF GEOFFREY M. HORN IN SUPPORT OF
     CLASS COUNSEL’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND
                    REIMBURSMENT OF EXPENSES
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        I, Geoffrey M. Horn, pursuant to 28 U.S.C. §1746, hereby declare as follows:

        1.      I am a shareholder in the law firm of Lowey Dannenberg, P.C. (“Lowey”). The

statements herein are true to the best of my personal knowledge, information and belief based on

the books and records of Lowey and information received from its attorneys and staff.

        2.      At all times relevant hereto, Lowey served as counsel for Plaintiffs and class

representatives Stephen Sullivan, White Oak Fund LP, California State Teachers’ Retirement System

(“CalSTRS”), Sonterra Capital Master Fund, Ltd., FrontPoint Partners Trading Fund, L.P., and

FrontPoint Australian Opportunities Trust. This Court appointed Lowey and Lovell Stewart

Halebian Jacobson LLP (“Lovell”) as Class Counsel for the Settlement Class in the above-captioned

action. Lowey’s firm resume is attached as Exhibit A.

        3.      I respectfully submit this declaration in support of Class Counsel’s Motion for

Award of Attorneys’ Fees and Reimbursement of Expenses (“Motion”) and seek attorneys’ fees and

reimbursement of expenses in this Action.

        4.      Set forth below are Lowey’s legal services rendered in this litigation, the lodestar

value of those services and the expenses reasonably incurred by the firm in connection with this

litigation for which reimbursement is requested.

        5.      The services Lowey performed on behalf of the putative class in connection with the

prosecution of the litigation include, but are not limited to, the following: (a) developed, supervised,

or otherwise managed the overall strategy and direction of the litigation; (b) developed briefing and

settlement strategy; (c) coordinated with Lovell and additional Plaintiffs’ Counsel regarding all

aspects of the litigation; (d) communicated with defendants’ counsel on settlement and other

important litigation events, deadlines and filings; (e) organized and drafted briefing on Plaintiffs’

opposition to Defendants’ motion to dismiss pursuant to FED. R. CIV. P. 12(b)(1), (b)(2), and (b)(6),

including letter briefs analyzing relevant authority; (f) selected mediators, prepared and attended
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settlement and allocation mediations; (g) drafted settlement documents, preliminary and final

approval documents, escrow agreements and the notice to class members in connection with

Plaintiffs’ $309 million in settlements with Barclays, Deutsche Bank, and HSBC; (h) oversaw the

implementation of the court approved notice plan in connection with Plaintiffs’ $309 million in

settlements with Barclays, Deutsche Bank, and HSBC; (i) negotiated the terms of additional data and

document cooperation from Settling Defendants Barclays, Deutsche Bank, and HSBC; (j) worked

with HSBC and co-counsel to obtain HSBC documents via The Hague Convention; (k) worked with

the Chicago Mercantile Exchange to obtain trading data needed for the implementation of the

notice plan; (l) vetted and retained experts to be used in the litigation; (m) worked with experts to

develop damages methodologies and expert models to be used in prosecuting the case; (n) worked

with experts to develop the plan of allocation for the Barclays, Deutsche Bank, and HSBC

settlement funds; (o) supervised the drafting of the Protective Order governing the use of experts;

(p) liaised with clients and kept them apprised of litigation events, including court decisions and

impact, settlement strategy, and discovery; (q) prepared for, participated in, and led meet-and-

confers with Non-Settling Defendants Citi and JPMorgan; (r) drafted Plaintiffs’ responses and

objections to Defendants’ discovery requests; (s) coordinated Plaintiffs’ document productions in

response to defendants’ requests; (t) developed search terms to be applied to Defendants’ document

productions; (u) monitored Defendants’ discovery responses and drafted document deficiency

letters; (v) analyzed documents produced by Settling and Non-Settling Defendants; (w) translated

relevant French documents; (x) reviewed and analyzed audio recordings produced by HSBC in

French and translated relevant recordings; (y) reviewed produced documents and performed quality

control on documents coded as relevant by reviewers; (z) updated the master list of ‘hot’ documents

and litigation timeline; (aa) created a master list of dates of Defendants’ misconduct; (bb) drafted

manipulation matrix used in connection with developing the plan of allocation; (cc) analyzed the



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potential legal issues surrounding: (1) antitrust injury and damages, (2) personal jurisdiction, (3) class

certification, (4) Daubert standards for expert witnesses, (5) the admissibility and authentication of

foreign language documents, among others; and (dd) conducted background research on individual

employees from JPMorgan, Citibank and Deutsche Bank. A more detailed description of Lowey’s

work is provided in the Joint Declaration of Vincent Briganti and Christopher Lovell accompanying

this Motion.

         6.       The schedule in ¶ 7 below is a summary reflecting the amount of time spent by

Lowey’s attorneys and professional support staff involved in this litigation, and the lodestar

calculations based on the firm’s current hourly billing rates. The schedule was prepared based upon

daily time records maintained by Lowey’s attorneys and professional support staff. The schedule in

¶ 10 below reflects the expenses paid by the firm in its representation of the putative class in this

litigation thus far. The hourly billing rate for any timekeeper primarily involved in first-level

document review has been capped at $350/hour, and the charges for timekeepers with less than 15

hours billed in this Action have been excluded. Lowey did not employ any contract lawyers in this

matter. Each lawyer and paralegal listed below was a full-time employee of the firm.

         7.       From the inception of this litigation through February 28, 2018, Lowey’s total fee

compensable time for which it seeks an award of attorneys’ fees is summarized below.

      Attorneys                                      Role1       Rates        Hours     Charges
      Richard W. Cohen                                S          $975             72.80   $    70,980.00
      Barbara J. Hart                                 S          $900            214.70   $ 193,230.00
      Geoffrey M. Horn                                S          $900          2,809.60   $ 2,528,640.00
      Gerald Lawrence                                 S          $900            368.80   $ 331,920.00
      Peter D. St. Phillip, Jr.                       S          $900          1,233.20   $ 1,109,880.00
      Thomas M. Skelton                               S          $900            277.45   $ 249,705.00
      Vincent Briganti                                S          $900          6,339.60   $ 5,705,640.00
      David C. Harrison                               P          $800            325.70   $ 260,560.00


1“S” refers to Shareholders. “P” refers to Partners. “A” refers to Associates. “AA” refers to law graduates who are
awaiting admission. “PL” refers to Paralegals.


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Deborah Rogozinski                A        $600      31.30   $      18,780.00
Scott Papp                        A        $600      41.40   $      24,840.00
Sitso Bediako                      A       $600     887.30   $     532,380.00
Sung-Min Lee                      A        $600      42.00   $      25,200.00
John D’Amico                      A        $575   2,727.30   $   1,568,197.50
Frank Strangeman                  A        $550     955.20   $     525,360.00
Christian Levis                   A        $525   1,971.00   $   1,034,775.00
Ian Sloss                         A        $525   1,548.80   $     813,120.00
Lee J. Lefkowitz                  A        $525     598.50   $     314,212.50
Raymond Girnys                    A        $525   3,305.50   $   1,735,387.50
Melissa Cabrera                   A        $400     676.20   $     270,480.00
Michelle Conston                  A        $400   1,287.30   $     514,920.00
Jennifer Risener                   A       $375     112.30   $      42,112.50
Jennifer Tembeck                   A       $375   3,466.70   $   1,300,012.50
Matthew Acocella                   A       $375     150.70   $      56,512.50
Roland R. St. Louis III           A        $375      81.50   $      30,562.50
Bonnie Espino                     A        $350     188.10   $      65,835.00
Christina McPhaul                 A        $350     662.50   $     231,875.00
Jonathan B. O’Brien                A       $350     265.00   $      92,750.00
Lee Yun Kim                       A        $350     482.60   $     168,910.00
Sylvie Bourassa                    A       $350   1,342.80   $     469,980.00
Adam Settle                       A        $325   1,770.40   $     575,380.00
Adebola M. Aderinto                A       $325   1,838.20   $     597,415.00
Anita Alexander                    A       $325   2,415.70   $     785,102.50
Anthony Christina                 A        $325   2,328.30   $     756,697.50
Anthony Odorisi                   AA       $325     151.35   $      49,188.75
Bracha Gefen                       A       $325     199.10   $      64,707.50
Craig Maider                      AA       $325     156.00   $      50,700.00
Garam Choe                        A        $325     373.00   $     121,225.00
Henry J. Kusjanovic               A        $325      49.30   $      16,022.50
Matthew Guarnero                   A       $325      72.90   $      23,692.50
Peter Demato, Jr.                 A        $325     652.10   $     211,932.50
Richard C. Frank                  A        $325   1,452.50   $     472,062.50
Samantha L. Breitner               A       $325      94.30   $      30,647.50
William J. Olson                  A        $325   1,124.90   $     365,592.50
Yong Kim                          A        $325     309.20   $     100,490.00

Paralegals and Legal Assistants
Katherine Vogel                   PL       $275     39.00    $     10,725.00
Elisa Horn                        PL       $150    418.80    $     62,820.00
Gregory Santiago                  PL       $150     54.50    $      8,175.00



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     Joanne Mannion                           PL        $150          21.80      $      3,270.00
     Stephen Fay                              PL        $150          66.50      $      9,975.00
     TOTALS                                                       46,053.70      $ 24,602,578.75


       8.      Thus, the total time for which my firm is requesting an award of legal fees is

46,053.70 hours. The total lodestar value of these professional services is $24,602,578.75.

       9.      The above hourly rates for Lowey’s attorneys and professional support staff are the

firm’s current hourly rates. The firm’s lodestar figures do not include charges for expense items.

Expense items are billed separately and such charges are not duplicated in the firm’s current billing

rates. Further, expense items do not contain any general overhead costs and do not contain a

surcharge over the amount paid to the corresponding vendor(s).

       10.     As detailed and categorized in the below schedule, Lowey has paid a total of

$766,031.42 in expenses for which it is currently requesting reimbursement.

             Expense Categories                                  Cumulative Expenses
Travel - Airfare, Lodging, Meals, Taxi                                                    $ 39,180.03
Computer Research, Databases & Docket                                                     $ 33,042.24
Conferences, Meetings, Telephone, &                                                       $    766.89
Telecopier
Court Transcripts/Court Reporter Fees                                                     $      56.16
Document Review, IT and Maintenance                                                       $ 126,366.98
Professional, Consulting, or Expert Fees                                                  $ 531,915.96
               Investigators                                            $ 49,517.74
               Economic & Market                                        $ 376,018.43
               Consultants
               Mediators                                                $ 70,326.78
               Hague Commissioner                                       $ 29,744.68
               Translation Vendor(s)                                    $ 2,058.33
               Tax Preparation and Other                                $ 4,250.00
               Expenses
In-House Copying                                                                          $ 33,204.80
Postage, Mailing, FedEx, UPS, Fares &                                                     $    902.70
Messengers
Service and Filing Fees                                                                   $     595.66
TOTAL                                                                                     $ 766,031.42




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       11.     The above schedule was prepared based upon expense records reflected in the

Lowey’s books and records. These books and records are prepared from expense vouchers, check

records, receipts and other source materials.




       I declare under penalty of perjury that the foregoing is true and correct.

                                                       Executed on March 23, 2018

                                                       /s/Geoffrey Horn




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